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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


UNITED STATES OF AMERICA                )
                                        )
      v.                                )      1:11-cr-00205-JAW-08
                                        )
ED COGSWELL                             )


       ORDER ON MOTION FOR RELEASE PENDING SENTENCING

      Right after being convicted of a mandatory detention crime, the Defendant

moved for release pending sentencing on the ground that he needs knee surgery.

The Court denies the motion because it concludes that he has not satisfied his

burden by clear and convincing evidence that he poses no danger to the safety of

any other person or the community and because it concludes that he has not clearly

shown that there are exceptional reasons why his detention would not be

appropriate.

I.    STATEMENT OF FACTS

      On January 31, 2013, the sixth day of trial, the jury returned verdicts of

guilty against Ed Cogswell for engaging in a conspiracy to distribute and to possess

with intent to distribute cocaine and cocaine base, a violation of 21 U.S.C. §§

841(a)(1) and 846.    Jury Verdict at 2 (ECF No. 390).       The jury found that the

conspiracy involved 280 grams or more of a mixture or substance containing cocaine

base, a finding that makes applicable the statutory penalties of 21 U.S.C. §

841(b)(1)(A) of a period of incarceration not less than ten years and up to life. Id.
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      Upon his conviction, under 18 U.S.C. § 3143(a)(2), Mr. Cogswell was subject

to mandatory detention pending the imposition of sentence because he did not fit

within any of the narrow exceptions to detention.        See 18 U.S.C. § 3143(a)(2)

(providing that the court must detain unless the judicial officer finds there is a

substantial likelihood that a motion for acquittal or new trial will be granted, that

an attorney for the Government has recommended no sentence of imprisonment,

and that the judicial officer finds by clear and convincing evidence that the person is

not likely to flee or pose a danger to any other person or the community). Section

3143(a)(2) makes post-conviction, pre-sentence detention mandatory for a crime in

which the maximum sentence is life imprisonment and an offense for which the

maximum term of imprisonment is ten years or more under the Controlled

Substances Act. See id. (referring to 18 U.S.C. §§ 3142(f)(1)(B), (C)). Mr. Cogswell

fits within both categories. Accordingly, directly after the verdict, the Court ordered

Mr. Cogswell detained. As the Court did so, defense counsel alerted the Court that

he intended to file a motion for release pending imposition of sentence.

II.   THE PARTIES’ POSITIONS

      A.     Ed Cogswell’s Motion

      On February 25, 2013, Mr. Cogswell filed his promised motion. Def.’s Mot.

for Post-Verdict Release (ECF No. 392) (Def.’s Mot.). Mr. Cogswell concedes that he

is subject to mandatory detention, but he points to another statutory provision, 18

U.S.C. § 3145(c) that allows a court to release a defendant pending sentence “if it is

clearly shown that there are exceptional reasons why such person’s detention would



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not be appropriate.”    Id. at 1 (quoting § 3145(c)).   Mr. Cogswell presents the

following reasons for his release, which he contends are exceptional. First, he says

he requires knee replacement surgery. Id. at 2. For support, he provides a letter

from Orthopaedic Surgery of Maine, rescheduling an appointment with Dr. John

Bradford, a Bangor orthopaedic surgeon, for a follow-up visit on February 15, 2013.

Id. Attach. 2, Letter from Orthopaedic Surgery of Maine to Edward E. Cogswell

(Jan. 11, 2013) (Jan. 11, 2013 Letter). He seeks release so that he can obtain this

surgery and undertake post-surgical rehabilitation. Id. at 2. Mr. Cogswell would

prefer to receive his knee replacement “on release rather than in jail” and he is

concerned about whether the Bureau of Prisons will permit him to obtain surgery

while he is incarcerated. Id. at 3.

      Mr. Cogswell also points out that he was on pretrial release for nearly one

year living with his girlfriend and their newborn son. Id. at 2. He says he was

regularly drug-tested and produced no positive tests.     Id.   He not only did not

violate his conditions of pretrial release but also received a letter of commendation

from his Probation Officer. Id. Attach. 1, Letter from Stacy Laflin to Edward

Cogswell (Dec. 3, 2012). In these circumstances, he maintains that he is not likely

to flee, does not present a risk to the community, and requires release for the

contemplated surgery. Id. at 1-3.

      B.     The Government’s Opposition

      The Government opposes Mr. Cogswell’s motion for release. Objection of the

United States to Def.’s Mot. for Release Pending Sentencing (ECF No. 394). The



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Government points out that Mr. Cogswell is subject to mandatory detention unless

he clearly demonstrates “exceptional reasons” for his release. Id. at 1. Analyzing

the eight factors the Ninth Circuit identified for determining whether exceptional

reasons exist under § 3145(c) in United States v. Garcia, 340 F.3d 1013, 1019-21

(9th Cir. 2003), the Government urged the Court to conclude that Mr. Cogswell

failed to meet his burden for presentence release under the statute. Id. at 3-4.

III.   DISCUSSION

       Because Mr. Cogswell was convicted of a violation of 21 U.S.C. §§ 841(a)(1)

and 846, the penalty provisions of 21 U.S.C. § 841(b)(1)(A) apply to his case, and

because he does not fit within any of the narrow exceptions to mandatory detention,

the statute directs that the Court “shall order” him detained pending imposition of

sentence.   18 U.S.C. § 3143(a)(2).   Mr. Cogswell’s only avenue for release is 18

U.S.C. § 3145(c), which provides the trial court with the authority to release him

but does so with some constraints. See United States v. Weiner, No. 92-1708, 1992

U.S. App. LEXIS 28794, at *8-9 (1st Cir. July 31, 1992). First, to qualify for release,

a defendant must meet the “conditions of release set forth in section 3143(a)(1)”,

which require that he demonstrate “by clear and convincing evidence” that he “is

not likely to flee or pose a danger to the safety of any other person or the community

if released.” 18 U.S.C. § 3145(c); 18 U.S.C. § 3143(a)(1). If he satisfies this hurdle,

Mr. Cogswell must next demonstrate “exceptional reasons” that his detention

“would not be appropriate.” 18 U.S.C. § 3145(c).




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      Regarding the § 3143(a)(1) criteria, the Court concludes that Mr. Cogswell is

not likely to flee. He has remained in the District of Maine during the pendency of

this case and he has a girlfriend and newborn baby to keep him here. The Court is

not convinced, however, that he does not present a danger to the safety of any other

person or the community. First, Mr. Cogswell has been convicted of a serious drug

trafficking crime, which involved the distribution of significant amounts of crack

cocaine in the Bangor, Maine area. Next, during the trial, his primary defense was

that he was so profoundly addicted to crack cocaine that his involvement with crack

cocaine dealers from the Dominican Republic was purely for personal use, not for

his own drug trafficking. Thus, although it is true that he did not test positive for

the use of drugs during the pretrial period, by his own defense, Mr. Cogswell

presented the risk that if released, he would return to his addiction.

      Third, to meet the burden under § 3143(a)(1), a defendant typically presents

evidence of his criminal record. See United States v. Lea, 360 F.3d 401, 403-04 (2d

Cir. 2004). Mr. Cogswell has failed to inform the Court as to whether he has a

criminal record and, as it is his burden to establish his entitlement to release, the

Court will not assume he does not.      As the Court observed in United States v.

Bernard, compliance with conditions of pretrial release and a lack of significant

criminal history are “necessary but not sufficient” grounds for post-conviction

release. No. 1:12-cr-00022-JAW-02, 2013 U.S. Dist. LEXIS 14984, at *5-6 (D. Me.

Jan. 14, 2013). Here, Mr. Cogswell has not presented this necessary evidence.




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      Regarding the “exceptional reasons” standard, Mr. Cogswell points to his

compliance with bail conditions and his need for knee surgery. Mr. Cogswell is of

course to be commended for his compliance with the conditions of his pretrial

release.   However, mere compliance with bail conditions cannot be considered

exceptional. United States v. Larue, 478 F.3d 924, 925 (8th Cir. 2007) (compliance

with terms of pretrial release is not exceptional); Bernard, 2013 U.S. Dist. LEXIS

14984, at *5.      Similarly, a defendant’s need for surgery, absent unusual

circumstances, does not constitute an exceptional circumstance under § 3145(c).

United States v. Wages, 271 F. App’x. 726, 728 (10th Cir. 2008) (“[I]t is a rare case in

which health conditions present an ‘exceptional reason’”); Bernard, 2013 U.S. Dist.

LEXIS 14984, at *5-8; United States v. Wayman, No. 3:11-cr-22, 2011 U.S. Dist.

LEXIS 115308, at *9 (E.D. Tenn. Oct. 5, 2011) (concluding that the need for surgery

for a torn meniscus is not an exceptional reason).

      Moreover, Mr. Cogswell has submitted a woeful lack of corroboration of his

need for a knee replacement. The only medical documentation is a letter from an

orthopaedic practice rescheduling an appointment.         Jan. 11, 2013 Letter.     Mr.

Cogswell has elected not to provide the Court with any medical records; let alone a

letter from a surgeon confirming that he actually needs surgery.           Instead, his

attorney merely makes the unverified assertion that he needs the surgery; at this

stage, his word alone does not sustain his clear and convincing burden of proof and

the Court will not conclude based only on the fact he has an appointment with an

orthopaedic surgeon that he has a condition that needs surgery.



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      In addition, the timing is suspect. Mr. Cogswell was indicted on January 12,

2012 and convicted on January 31, 2013. Mr. Cogswell has not explained why, if he

has needed knee surgery, the need became so suddenly urgent only after the jury

verdict. There is no indication why he did not have the surgery during the year he

was waiting for trial.

      Furthermore, Mr. Cogswell has given no indication regarding when he

intends to undergo surgery and the expected length of his recuperation. The Court

ordered the Probation Office to prepare a Presentence Investigation Report on Mr.

Cogswell and once that Report has been prepared, Mr. Cogswell will be ready to be

sentenced.   As the District Court in the Eastern District of Tennessee noted in

Wayman, “there is no clear evidence in the record that the time between [the guilty

verdict] and his sentencing hearing would be sufficient for the needed

rehabilitation.” Wayman, 2011 U.S. Dist. LEXIS 115308, at *9. The Court suspects

that Mr. Cogswell’s legal case would be ready for resolution far sooner than his

medical case.

      Finally, Mr. Cogswell has not presented any evidence that, if surgery is

needed, it would be unavailable in prison. See United States v. Rodriguez, 50 F.

Supp. 2d 717, 722 (N.D. Ohio 1999) (rejecting defendant’s § 3145(c) motion in part

because “there is no indication that defendant’s condition cannot be properly treated

at the Bureau of Prison’s medical facilities”).




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IV.   CONCLUSION

      The Court DENIES Ed Cogswell’s Motion for Release Pending Sentencing

(ECF No. 392).

      SO ORDERED.

                               /s/ John A. Woodcock, Jr.
                               JOHN A. WOODOCOCK, JR.
                               CHIEF UNITED STATES DISTRICT JUDGE

Dated this 14th day of February, 2013




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